                                                                                    GOVERNMENT
                                                                                       EJ(IABIT
                                    DECLARATION

I, Bryan Moultis, pursuant to 28 U.S.C. § 1746, under penalty of perjury and pursuant to
the laws of the United States, state that the following is true and correct to the best of my
knowledge and belief:

1.  I, Bryan T. Moultis, am a Special Agent (S/A) of the Department of Homeland
Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Security
Investigations (HSI). I have been employed over four years as an HSI SIA and have
completed the DHS Federal Law Enforcement Training Center (FLETC) Criminal
Investigator Training Program (CITP). I am currently assigned to the HSI Resident Agent
in Charge Raleigh, North Carolina Field Office (HSI RAC/RA) and my duties include
conducting criminal investigations for violations of Titles 8, 18, 19 and 21 of the United
States Code, to include violations of immigration offenses, trafficking of contraband and
prohibited goods into the United States, attempting to obtain visas by fraud, making false
statements, and intellectual property rights infringements. Prior to my appointment as an
HSI S/A, I was employed as a civilian SIA with Army Criminal Investigation Command,
Major Procurement Fraud Unit for a period of two years, where I performed sophisticated
fraud and corruption investigations. This declaration is based on my own knowledge and
experience as well as information provided by other federal, state, and/or local law
enforcement agencies.

2. This declaration is made in support of the forfeiture of$22,930 in U.S. currency seized
from Sidialy El Ghoth Diaafar pursuant to 18 U.S.C. § 981(a)(l)(C) as proceeds of a
violation of 18 U.S.C. § 2342 (trafficking in contraband cigarettes/tobacco).

3. This forfeiture action arises from a traffic stop of Sidialy El Ghoth Diaafar ("Diaafar")
during an interdiction operation while law enforcement officers were investigating illegal
trafficking of contraband cigarettes and/or controlled substances in Cumberland County
and elsewhere in North Carolina.


                         Knowledge, Training, and Experience

4. Your affiant and members of the Cumberland County Sheriff's Office Criminal
Interdiction unit have attended specialized training in interdiction operations, as well as
accumulated knowledge, training, and experience as it relates to tobacco smuggling
operations. Both agencies are also members of a vast network of interdiction officers
that specialize in tobacco smuggling including common themes, smuggling trades,
patterns, trends, smuggling methodologies, and lmown smuggling personalities which
are often broadcasted throughout this network to ensure interdiction officers are made
aware of the same. Below are some common items or smuggling methods often
encountered:

      4a. Grocery bags - in tobacco smuggling investigations, a significant nwnber of
experiences in the smuggling of bulk cash relating to the illegal sales of tobacco often
result in smugglers utilizing black plastic bags to conceal money. These bags often come

                                             1



         Case 5:19-cv-00444-D Document 1-1 Filed 10/09/19 Page 1 of 5
from the very tobacco retail stores used as fronts to launder proceeds of illegal activity.
These bags are often placed inside various natural cavities throughout the vehicle, as
opposed to bank bags often used by legitimate business persons. In some instances,
legitimate bank bags are discovered with separate portions of money contained within.
In other cases, a small portion of bulk cash is placed in plain view to attract the attention
of a law enforcement officer so that the         search will cease in order for the
discovered money to be discussed, with the hope law enforcement will be satisfied with
the story and discontinue the search; all he while a separate sizeable amount of bulk
currency remains concealed in the vehicle in a different compaiiment.

      4b. Use ofrental cai·s - the frequent use ofrental cars is often an indicator that foul
play is afoot. Smugglers will often rent vehicles for several pmposes to include :

             i. The use of a rental cai· adds a degree of covertness as smugglers names
are no longer tied to license plates which are often subject to inspection by interdiction
officers and license plate readers throughout the Interstate system. In some instances,
the smuggler is not the person who rents the vehicle, as smugglers who have been
previously caught require a third party to rent the vehicle for them to add a degree of
separation for the purpose of avoiding suspicion. Smugglers also use rental vehicles for
the same purpose while sourcing cigarette locally in North Carolina to stash them prior
to making a longer trip to a state such as New York where the cigarettes will be sold, and
the money will be smuggled south.

             ii . Smugglers often make treks up and down the Interstate system causing
mileage to increase significantly on vehicles. The use of rental cars keeps smugglers
from having to use personal vehicles, mitigating wear and tear. HSI Raleigh, during the
course of this investigation has observed tobacco smugglers rent vehicles year-round to
the point rental companies have sold the vehicle after one rental contract due to the
mileage accrued by the smuggler exceeded 100,000 miles.

             iii. Luggage and Travel - tobacco smugglers often make trips from No1ih
Carolina to New York in one overnight trip. Some smugglers will often use diapers or
paper towels for the purpose of relieving themselves while driving to minimize the
amount of stops needed to make the trip. Often, upon inspection, smugglers will provide
law enforcement officers itineraries that exceed day trips which would require a common
person to take a change of clothes, toiletries, and other related items with them. The lack
of these items indicates the multi-day itineraries are likely fabricated.

             iv. Direction of travel - the direction of travel on the Interstate system is
often indicative of what phase of the tobacco smuggling operation is occurring.
Smugglers interdicted north bound will often have large loads of cigarettes contained
within their vehicle. Smugglers traveling south bound are often encountered with bulk
currency, which are the illegal proceeds received in New York sent back to Nmih
Carolina for the purpose of purchasing additional cigarettes.

            v. Use of blankets, sheets, and tarps - tobacco smugglers often choose
vehicles with large internal cargo areas such as SUV' s and pickup trucks. In order to

                                              2



        Case 5:19-cv-00444-D Document 1-1 Filed 10/09/19 Page 2 of 5
conceal bulk tobacco products, tobacco smugglers will often use black sheets, blankets,
or tarps to emplace over the contraband cigarette load as to conceal the contraband
cigarettes from plain view from outside persons such as police officers approaching the
driver side window during a traffic stop.

                          The May 2, 2019 Seizure of $22,930

5. On May 2, 2019 Corporal (Cpl.) Kevin Hamlet of the Cumberland County Sheriff's
Office performed a traffic stop on a 2019 Ford Escape registered to Hertz Vehicles, LLC
after observing the driver speeding, following too closely, and failing to maintain lane.
The stop took place on Southbound 1-95 near North Carolina Highway 87 in Fayetteville,
North Carolina

6. During the stop, Corporal Hamlett asked for Diaafar' s driver ' s license and the vehicle
rental agreement. Diaafar reached into the center console to retrieve the documents,
exposing a black plastic bag. Corporal Hamlett asked Diaafar to exit the vehicle and ·
come to the front passenger window of his patrol car while he checked on Diaafar's
driver's license. Diaafar, the only occupant of the vehicle, stated that he was traveling
from Bronx, New York, to Butters, North Carolina to visit a friend for two days (until
May 4, 2019). Corporal Hamlett noted that Diaafar' s car rental agreement showed that
the car had to be returned in New York on May 3, 2019, and that there was no luggage
in the vehicle.

7. After completing the license check, Corporal Hamlett exited his vehicle and returned
Diaafar' s license and rental agreement. He then asked Diaafar if he could ask him a few
questions before he left, and Diaafar agreed. Corporal Hamlett asked whether Diaafar
had any drugs or large sums of money. Diaafar said no, but began to exhibit signs of
nervousness, such as not making eye contact, his voice rising in pitch, and his speech
becoming faster. According to Corporal Hamlett, though Diaafar's first language is not
English, they were initially able to communicate without difficulty, but that Diaafar
struggled to communicate clearly when responding to these questions. Corporal Hamlett
asked multiple times if he could search the vehicle, but he indicated the Diaafar was "in
disarray" and unable to easily communicate any longer. Due to Diaafar's nervousness
and speech, Corporal Hamlett asked hin1 to stand to the side of the vehicle, which Diaafar
did. Corporal Hamlett then requested the CCSO K9 Unit to respond to perform a free
air sniff. While Corporal Hamlett contacted the K9 Unit, Diaafar told Sergeant Tim
Bailer that he had $22,000 in the vehicle, which Diaafar said he was bringing to a friend.

8. When the K9 Unit arrived, Sergeant J. Salisbury's canine aJe11ed to the odor of
narcotics in a free air sniff. Corporal Hamlett and Sergeant Bailer then commenced a
search of the vehicle, which revealed a large sum of U.S. currency in a black plastic bag
in the center.console. The only clothing located in the vehicle was a jacket on the back-
seat floorboard. The search also revealed a blanket next to the jacket, and another blanket
in the rear storage area of the SUV. When questioned about the large sum of currency,
Diaafar gave conflicting information, stating initially that he was bringing it to a friend,
then that he was buying a business, and finally that he was investing in a business with a
friend who Jived in Butters, North Carolina. When asked the name of his business

                                             3



         Case 5:19-cv-00444-D Document 1-1 Filed 10/09/19 Page 3 of 5
partner, Diaafar could not provide a last name for the individual. When Corporal Hamlett
asked, "So you are going to give $22,000 to a person to invest in a business and you don't
even know his last name?" Diaafar responded only with, "He's my friend." When asked
what he did for a living, Diaafar said he was an Uber driver and that he made a lot of
money. (It should be noted thatDiaafar possessed a temporary visitor New York driver's
license set to expire October 11, 2019.) Diaafar stated that he does use a bank, but did
not clarify why the money was not in the bank. He stated that there was $22,270 in the
black plastic bags, and he wrote the name and address of the person he said he was going
to give it to on a piece of paper (Tareq, 5630 Fountain Grove Circle, Fayetteville, NC
28304) . The address given was in Fayetteville, North Carolina, rather than Butters, as
Diaafar had previously identified as his destination.

9.    Based on my own training and experience and that of others involved in this
investigation, the currency was packaged and concealed in a manner consistent with
illegal activity such as cigarette trafficking. The currency was stacked, bundled, and
banded and wrapped in a black plastic bag similar to those used in a conveyance store.
The currency was not banded with currency bands, which are typically found when
currency is withdrawn from a bank, but rather plain gum-colored rubber bands. Further,
when the seized currency was taken to a bank for an official count, the bank teller found
two counterfeit $20 bills, demonstrating the unlikelihood of the currency originating
from any financial institution.

10 Based on my own training and experience and that of others involved in this
investigation, the average cost of a carton of cigarettes (brand immaterial) is $56 .00 per
carton in the state of North Carolina. The seizure of $22,270 in bulk currency will
purchase approximately 400 cartons of cigarettes in North Carolina, which is a
contraband quantity as defined by 18 U.S.C. § 2341(2). Further, a mid-sized SUV such
as the Ford Escape Diaafar was driving can hold up to 500 cartons of cigarettes. Once
the cigarettes have been smuggled into New York, they can be illegally sold without
payment of taxes for as much as $114.00 per carton. Each trip in which 400 cartons of
cigarettes is smuggled from North Carolina to New York can potentially generate
$45 ,000.00 in proceeds, approximately half of which is profit and the remainder of which
is then available to purchase another load of cigarettes in North Carolina.

                                     CONCLUSION

11. Based on the foregoing, probable cause exists to believe that the aforementioned
$22,930 in U.S. currency constitutes or is derived from proceeds traceable to specified
unlawful activity, as defined in 18 U.S.C. §§ 1956(c)(7) and 1961(1), including
trafficking in contraband cigarettes.

12. The foregoing facts are therefore sufficient to support a reasonable belief that the
$22,930.00 in U.S. currency is forfeitable to the United States pursuant to Title 18, U.S.C.
§ 981(a)(l)(c).




                                             4



        Case 5:19-cv-00444-D Document 1-1 Filed 10/09/19 Page 4 of 5
Executed this 3rd day of October, 2019
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 /
Bryan Moultis
Special Agent
Homeland Security Investigations




                                         5



         Case 5:19-cv-00444-D Document 1-1 Filed 10/09/19 Page 5 of 5
